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                                                                                        TARRANT COUNTY
                                                                                       2/9/2015 2:30:29 PM
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                                                                                           DISTRICT CLERK
                                              096-276812-15
                               CAUSE N O .

COTY M I T C H E L L AND                         §             I N THE DISTRICT COURT
CLYDELYNN MITCHELL                               §
                                                 §
V.                                               §                    JUDICIAL COURT
                                                 §

STATE F A R M LLOYDS                             §             TARRANT COUNTY,
A N D L A U R I N LINSON                         §             TEXAS


                             PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       N O W Comes Coty Mitchell and Clydelynn Mitchell, hereinafter referred to as

"Plaintiff," complaining of Defendants, State Farm Lloyds and Laurin Linson (hereinafter

collectively referred to as "Defendants") and hereby respectfully shows unto the Court and Jury

as follows:

                               I. DISCOVERY CONTROL PLAN

       Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the Texas

Rules of Civil Procedure.      This case involves complex issues and w i l l require extensive

discovery. Therefore, Plaintiffs ask the Court to order that discovery be conducted in accordance

with a discovery control plan tailored to the particular circumstances of this suit.

                                           II. PARTIES

       Plaintiff, Coty Mitchell and Clydelynn Mitchell, is an individual and resident of Texas.

       Defendant, State Farm Lloyds ("State Farm"), is a Texas domestic Lloyds plan insurance

company that, on information and belief, is licensed to conduct the business of insurance i n the

State of Texas and/or has it's principal place of business located in Texas. Additionally, one or

more of State Farm's "members" are citizens o f Texas. It can be served with citation by serving


                                            Page 1 o f 2 0                                   EXHIBIT
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its its registered agent, Rendi Black c/o State Farm, by certified mail, return receipt requested, at

17301 Preston Road, Dallas, Texas 75252-5727.

       Defendant. Laurin Linson C'Linson"), is a citizen of Texas who can be served with

process by certified mail, return receipt requested, at 312 Ferguson Road, Palestine, Texas

75803, or wherever else she may be found.

                              I I L J U R I S D I C T I O N AND VENUE

       This Court has jurisdiction over this case i n that the amount in controversy exceeds the

minimum jurisdictional limits o f this Court.

       Venue is mandatory and proper i n Tarrant County, Texas, because all or a substantial part

o f the events giving rise to the- lawsuit occurred in this county (see Tex. Civ. Prac-. & Rem. Code

§15.002) and the insured property that is the basis o f this lawsuit is located in Tarrant County,

Texas. See Tex. Ins. Code §2210.552 and Tex. Civ. Prac. & Rem. Code §15.032 (see below).

Venue is proper and mandatory in Tarrant County against all the Defendants in this case because

venue is mandatory and/or proper against at least one Defendant and all claims or actions i n this

case arise out of the same transaction, occurrence, or series o f transaction or occurrences.    See

Tex. Civ. Prac. & Rem. Code §15.005,

                               IV. CONDITIONS PRECEDENT

       A l l conditions precedent to recovery have been performed, waived, or have occurred.

                                            V . FACTS

A.     Plaintiffs are the owners of insurance Policy Number 58-B8-G884-9 issued by Defendant,

       State Farm (hereinafter referred to as the "Policy").

B.     Plaintiffs owned tihe insured property, which is specifically located at 3420 Pueblo Ridge,

       Grand Prairie, Texas 75052 on October 2,2014 (hereinafter referred to as the "Property").



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C.     Defendant State Farm or its agent sold the Policy, insuring the Property, to Plaintiffs.

D.     On or about October 2, 2014, a wind and hailstorm struck the Grand Prairie, Texas area

       causing severe damage to homes and businesses throughout the area, including Plaintiffs

       Property.

E.     Plaintiffs submitted a claim to State Farm against the Policy for roof damage die Property

       sustained as a result of the wind and hailstorm. Plaintiffs asked that State Farm cover the

       cost o f repairs to the Property pursuant to the Policy and any other available coverages

       under the Policy.

F.     Defendants have assigned claim number 435341,379 to Plaintiffs claim.

G.     Defendant Linson was the agent for State Farm and represented State Farm in regard to

       Plaintiffs' claim. Linson also adjusted the Plaintiffs' claim by investigating, processing,

       evaluating, approving, and/or denying, in whole or in part, Plaintiffs' claim.        As such,

       Linson acted as an insurance adjuster engaged in the business o f insurance with respect to

       the Plaintiffs' insurance claim. Therefore, Linson is a "person" who is individually liable

       for her unfair methods of competition or unfair or deceptive acts or practices under the

       Texas Insurance Code and the DTPA.             Furthermore, Linson acted as the agent and

       representative for State Farm in this claim,

H.     Defendant Linson improperly adjusted the Plaintiffs' claim. Defendant Lmson conducted a

       substandard inspection, which is evidenced i n her report, which failed to include many of

                           1
       Plaintiffs damages. Her estimate did not allow adequate funds to cover repairs to restore

       Plaintiffs home. Without limitation, Linson misrepresented the cause of, scope of, and cost

       to repair the damage to Plaintiffs' Property, as well as the amount o f and insurance coverage




' See Exhibit A: Defendant Linson's Adjustment Report Dated October 13, 2014.

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                                                                              2
               for Plaintiffs' claim/loss under Plaintiffs' insm-ance policy, Linson made these and other

               misrepresentations to Plaintiffs as well as to State Farm. Plaintiffs and State Farm both

               relied on Linson's misrepresentations, including but not limited those regarding the cause of,

               scope of, and cost to repair the damage to Plaintiffs' Property, and Plaintiffs have been

               damaged as a result of such reliance. Linson's misrepresentations caused. State Farm to

               underpay Plaintiffs on their insurance claim and, as such, Plaintiffs have not been able to

               properly and completely repair the damages to Plaintiffs' property.         This has caused

               additional, further damage to Plaintiffs' property. Linson also advised Plaintiffs as to how

                                                                                                               3
               they could repair their Property so as to prevent further damage to the Plaintiffs' Property.

               This advice was negligent and false because it turns out Plaintiffs could not properly repair

               their Property and prevent future damage by following Linson's advice. Plaintiffs' Property

               lias sustained forther damages as a result.

    I.         Defendants State Farm and Linson misrepresented that the damages caused by the wind and

                                                4
               hailstorm were only $2,248.22        However, Defendants' representations were false because

               Plaintiffs wind and hailstorm damages exceed $19,000.00.

J.             Defendants State Farm and Linson failed to properly adjust the claims and Defendants have

               denied at least a portion of the claims without an adequate investigation, even though the

               Policy provided coverage for losses such as those suffered by Plaintiffs.

K.             These false representations allowed Defendants to financially gain by wrongfully denying

               at least a portion of Plaintiffs' claim.




2
         Id.
3
     Id.
4
     id.
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L.   Plaintiffs' claim(s) still remain unpaid and the Plaintiffs still have not been able to properly

     repair the Property.

M.   Defendant State Farm failed to perform its contractual duty to adequately compensate

     Plaintiffs under the terms of the Policy. Specifically, Defendant failed and refused to pay

     the full proceeds o f the Policy, although due demand was made for proceeds to be paid in an

     amount sufficient to cover the damaged Property and all conditions precedent to recovery

     upon the Policy had been carried out and accomplishedfayPlaintiffs. Defendant's conduct

     constitutes a breach of the insurance contract between Defendant and Plaintiffs.

N.   Defendants misrepresented to Plaintiffs that the damage to the Property was not covered

     under the Policy, even though the damage was caused by a covered occurrence.

     Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

     Practices. TEX. INS. CODE Section 541.060(a)(1).

O.   Defendants failed to make an attempt to settle Plaintiffs' claim i n a fair manner, although

     they were aware of their liability to Plaintiffs under the Policy.       Defendants' conduct

     constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

     CODE Section 541.060 (a)(2)(A),

P.   Defendants failed to explain to Plaintiffs the reasons for their offer o f an inadequate

     settlement    Specifically, Defendants failed to offer Plaintiffs adequate compensation,

     without any explanation why full payment was not being made. Furthermore, Defendants

     did not eommunicate that any future settlements or payments would be forthcoming to pay

     for the entire losses covered under the Policy, nor did they provide any explanation for the

     failure to adequately settle Plaintiffs' claim. TEX. INS, CODE Section 541.060(a)(3).




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Q,   Defendants failed to affirm or deny coverage of Plaintiffs' claim within a reasonable time.

     Specifically. Plaintiffs did not receive timely indication o f acceptance or rejection, regarding

     the f u l l and entire claim, i n writing from Defendants, Defendants' conduct constitutes a

     violation o f the Texas Insurance Code, Unfair Settlement Practices, TEX. INS. CODE

     Section 541.060(a)(4).

R.   Defendants refused to fully compensate Plaintiffs, under the terms of the Policy, even

     though Defendants failed to conduct a reasonable investigation. Specifically, Defendants

     performed an outcome-oriented investigation of Plaintiffs' claim, which resulted i n a biased,

     unfair and inequitable evaluation of Plaintiffs' losses to the Property. Defendants' conduct

     constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. T E X INS.

     CODE Section 541.060 (a)(7).

S.   Defendants failed to meet their obligations under the Texas Insurance Code regarding timely

     acknowledging Plamtiffs' claim, beginning an investigation o f Plaintiffs' claim and

     requesting all information reasonably necessary to investigate Plaintiffs' claim within the

     statutorily mandated deadline,     Defendants' conduct constitutes violation o f the Texas

     Insurance Code, Prompt Payment of Claims, TEX. INS. CODE Section 542,055.

T.   Defendants failed to accept or deny Plaintiffs' full and entire claim within the statutory

     mandated deadline o f receiving all necessary information. Defendants* conduct constitutes

     violation o f the Texas Insurance Code, Prompt Payment o f Claims. TEX. INS. CODE

     Section 542.056.

U.   Defendants failed to meet their obligations under the Texas Insurance Code regarding

     payment of claim without delay. Specifically, Defendants have delayed full payment o f

     Plaintiffs' claim longer than allowed and, to date, Plaintiffs have not yet received, f u l l



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          payment for their claim. Defendants' conduct constitutes violation of the Texas Insurance

          Code, Prompt Payment of Claims, TEX. INS. CODE Section 542.058.

V.        From and after the time Plaintiffs' claim was presented to Defendants, the liability of

          Defendants to pay the f u l l claim in accordance with the terms of the Policy was reasonably

          clear. However, Defendants have refused to pay Plaintiffs in full, despite there being no

          basis whatsoever on which a reasonable insurance company would have relied to deny the

          full payment. Defendants' conduct constitutes a breach o f the common law duty o f good

          faith and fan- dealing.

W.        A s a result of Defendants' wrongful acts and omissions, Plaintiffs were forced to retain the

          professional services of the attorney and law firm who is representing Plaintiffs with respect

          to these causes of action.

X.        Plaintiffs' experience Is not an isolated case.         The acts and omissions of Defendants

          committed in this case, or similar acts and omissions, occur with such frequency that they

          constitute a general business practice o f Defendants with regard to handling these types o f

          claims. Defendants' entire process is unfairly designed to reach favorable outcomes for the

          company at the expense of the policyholder.

                                    V L T H E O R I E S OF L I A B I L I T Y

A. Cause of Action for Breach of Contract Against Slate Farm

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          According to the Insurance Policy that Plaintiffs purchased, State Farm has the duty to

investigate and pay Plaintiffs' policy benefits for claims made for covered damages, including

additional benefits under the Policy, resulting from the wind and hailstorm. As a result o f the



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wind and hailstorm and/or ensuing losses f r o m the wind and hailstorm, both o f which are

covered perils under the Policy, Plaintiffs' Property has been damaged.

          Defendant's failure and refusal, as described above, to pay the adequate compensation as

it is obligated to do under the terms o f the Policy in question and under the laws of the State o f

Texas, constitutes a breach o f Defendant's contract with Plaintiffs. As a result of this breach of

contract, Plaintiffs have suffered the damages that are described in this petition.

B . Cause of Action for Violation of Section 542 Against State F a r m and Linson

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Defendants' acts, omissions, failures and conduct that are described in this petition

violate Section 542 o f the Texas Insurance Code. Within the timeframe required after the receipt

o f either actual or written notice of Plaintiffs' claim,, Defendants did not request f r o m Plaintiffs

any items, statements, and forms that they reasonably believed at that time would be required

f r o m Plaintiffs for Plaintiffs' claim. As a result, Defendants have violated Section 542 by failing

to accept or reject Plaintiffs' claim i n writing within the statutory timeframe. Defendants also

violated Section 542 by failing to pay Plaintiffs' claim within the applicable statutory period. In

addition, i n the event it is determined Defendants owe Plaintiffs any additional monies on

Plaintiffs' claim, Defendants have automatically violated Section 542 i n this case,

C . D T P A Cause of Action Against State Farm and Linson

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations i n this petition for this cause o f action against

Defendants under the provisions o f the DTPA. Plaintiffs are consumers o f goods and services



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provided by Defendants pursuant to the DTPA. Plaintiffs have met all conditions precedent to

bringing this cause of action against Defendants. Specifically, Defendants' violations o f the

DTPA include, without limitation, the following matters:

        B y their acts, omissions, failures, and conduct that are described in this petition,

Defendants have violated Sections 17.46 (bX2), (5), (7), (9), (12), (20) and (24) of the DTPA. In

this respect, Defendants' violations include, without limitation, (1) their unreasonable delays in

the investigation, adjustment and resolution of Plaintiffs' claim, (2) their failure to give Plaintiffs

the benefit o f the doubt, and (3) their failure to pay for the proper repair o f Plaintiffs' home on

which liability had become reasonably clear, which gives Plaintiffs the right to recover under

Section 17.46(b)(2).

       As described in this petition, Defendants represented to Plaintiffs that their insurance

policy and Defendants' adjusting and Investigative services had characteristics or benefits that it

did not have, which gives Plaintiffs the right to recover under Section 17.46 (b)(5) o f the DTPA;

       As described in this petition, Defendants represented to Plaintiffs that their insurance

policy and Defendants' adjusting and investigative services were o f a particular standard, quality,

or grade when they were o f another in violation of Section 17.46 (b)(7) o f the DTPA;

       As described in this petition. Defendants advertised their insurance policy and adjusting

and investigative services with intent not to sell them as advertised i n violation o f Section 17.46

(b)(9) o f the DTPA;

       As described in this petition, Defendants represented to Plaintiffs that their insurance

policy and Defendants' adjusting and investigative services conferred or involved rights,

remedies, or obligations that it did not have, which gives Plaintiffs the right to recover under

Section 17.46 (b)(12) of the D I P A ;



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          As described i n this petition. Defendants failed to disclose information concerning goods

or services which were known at the time of the transaction and such failure to disclose was

intended to induce Plaintiffs into a transaction into which the Plaintiffs would not have entered

had the information been disclosed, which gives Plaintiffs the right to recover under Section

17.46 (b)(24) o f the DTPA;

          Defendants have breached an express warranty that the damage caused by the wind and

hailstorm would be covered under the insurance policies. This breach entitles Plaintiffs to

recover under Sections 17.46 (b)(12) and (20) and 17.50 (a)(2) o f the DTPA;

          Defendants' actions, as described i n this petition, are unconscionable i n that they took

advantage of Plaintiffs' lack of knowledge, ability, and experience to a grossly unfair degree.

Defendants' unconscionable conduct gives Plaintiffs the right to relief under Section 17.50(a)(3)

of the DTPA; and

          Defendants' conduct, acts, omissions, and failures, as described in this petition, are unfair

practices i n the business o f insurance i n violation o f Section 17.50 (a)(4) o f the DTPA.

          A l l of the above-described acts, omissions, and failures of Defendants are a producing

cause o f Plaintiffs' damages that are described in this petition. A l l o f the above-described acts,

omissions, and failures o f Defendants were done knowingly and intentionally as those terms are

used i n the Texas Deceptive Trade Practices A c t

1). Cause of Action for Unfair Insurance Practices Against State Farm and Linson

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations i n this petition for this cause o f action against

Defendants under the Texas Insurance Code. Plaintiffs have satisfied all conditions precedent to



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bringing this cause of action. By their acts, omissions, failures, and conduct, Defendants have

engaged in unfair and deceptive acts or practices in the business o f insurance in violation of 541

o f the Texas Insurance Code.       Such violations include, without limitation, all the conduct

                                               5
described in this petition plus Defendants unreasonable delays in the investigation, adjustment,

and resolution o f Plaintiffs' claim and Defendants' failure to pay for the proper repair o f

Plaintiffs' home on which liability had become reasonably clear.                They further include

Defendants' failure to give Plaintiffs the benefit of the doubt Specifically, Defendants are guilty

of the following unfair insurance practices:

        A.     Engaging in false, misleading, and deceptive acts or practices in the business of

               insurance in this case:

       B.      En gaging in unfair cl aims settlement practices;

        C.     Misrepresenting to Plaintiffs pertinent facts or policy provisions relating to the

               coverage at issue;

        D.     Not attempting i n good faith to effectuate a prompt, fair, and equitable settlement

               of claims submitted in which liability has become reasonably clear;

       E.      Failing to affirm or deny coverage of Plaintiffs' claim within a reasonable time;

       F.      Refusing to pay Plaintiffs' claim without conducting a reasonable investigation

               with respect to the claim; and

       G.      Failing to provide promptly to a policyholder a reasonable explanation of the

               basis in the insurance policy i n relation to the facts or applicable law for the

               denial of a claim or for the offer o f a company's settlement.

       Defendants have also breached the Texas Insurance Code when they breached their duty

o f good faith and fair dealing. Defendants' conduct as described herein has resulted in Plaintiffs'

damages that are described in this petition.

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          A l l o f the above-described acts, omissions, and failures o f Defendants were done

knowingly as that term is used i n the Texas Insurance Code.

E,   Cause of Action for Breach of Duty of Good Faith and Fair Dealing Against State Fa rra

and Linson

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations o f the preceding paragraphs for this cause o f

action. By their acts, omissions, failures and conduct, Defendants have breached their common

law duty o f good faith and fair dealing by failing to pay the proper amounts on Plaintiffs' entire

claim without any reasonable basis and by failing to conduct a reasonable investigation to

determine whether there was a reasonable basis for this denial. Defendants have also breached

this duty by imreasonably delaying payment of Plaintiffs' entire claim and by failing to settle

Plaintiffs' entire claim because Defendants knew or should have known that i t was reasonably

clear that the claim was covered. These acts, omissions, failures, and conduct o f Defendants arc

a proximate cause o f Plaintiffs' damages,

F.   Cause of Action for Fraud Against State Farm and Linson

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations of the preceding paragraphs for this cause of

action. The Defendants, jointly and severally, made false representations and/or false promises

to Plaintiffs. These false representations and/or false promises made by the Defendants were

material misrepresentations or omissions o f fact upon which the Defendants intended that

Plaintiffs would rely, and upon which Plaintiffs did reasonably rely to their detriment. The



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representations and/or promises by the Defendants were false and were made either intentionally

or recklessly without regard to their truth or falsity and with the intent to induce Plaintiffs into

purchasing the insurance policy at issue and/or to accept as true and correct the adjustment of

            1
Plaintiffs claim.     As a result o f the material misrepresentations and omissions upon which

Plaintiffs detrimentally relied. Plaintiffs have suffered damages substantially i n excess of the

minimum jurisdictional limits of this Court

          The fraudulent acts and/or omissions of the Defendants, as set forth herein, are sufficient,

under Chapter 41 o f the Texas C i v i l Practices and Remedies Code, to justify the hnposition o f

punitive damages against Defendants.

          Plaintiffs seek herein, as a result of the Defendants' fraud, Plaintiffs' actual damages,

consequential damages, incidental damages, compensatory damages, mental anguish damages,

punitive damages, costs of court, pre-judgment interest, and post-judgment interest.

G . Cause o f Action for Conspiracy Against State F a r m and Linson

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations of the preceding paragraphs for this cause o f

action.    The Defendants were members of a combination o f two persons; the object o f the

combination was to accomplish an unlawful purpose and/or a lawful purpose by unlawful means

as set forth i n die factual allegations and causes of action detailed above, including, but not

limited to, to violate the DTPA, to violate Section 542 and 541 o f the Texas Insurance Code, to

commit unfair and deceptive insurance practices, to commit fraud and fraudulent inducement to

commit breaches of contract, and to commit breaches o f the duty o f good faith and fair dealing;

the Defendants had a meeting o f the minds on the object or course o f action; one or more o f the



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Defendants committed an unlawful, overt act, including, but not limited to violating the DTPA,

violating Section 542 and 541 of the Texas Insurance Code, committing unfair and deceptive

insurance practices, committing fraud and fraudulent inducement, committing breaches of

contract, and committing breaches of the duty of good faith and fair dealing to further the object

or course o f action which, among other things, was intended to deprive the Plaintiffs o f the

benefit and coverage o f the insurance Policy that they purchased; and Plaintiffs suffered injury

as a proximate result of the wrongful act(s) and/or omission(s).

        The conspiratorial acts committed by the Defendants set forth herein were committed

with gross negligence, fraud and/or malice, as those terms are used in Chapter 41 of the Texas

Civil Practices and Remedies Code, such as to justify the imposition of punitive damages against

the Defendants.

        Plaintiffs seek, as a result of the Defendants' conspiracy as set forth herein, Plaintiffs'

actual damages, consequential damages, incidental damages, compensatory damages, mental

anguish damages, punitive damages, pre-judgment interest, post-judgment interest, costs o f

court, expenses of the litigation, and reasonable and necessary attorneys' fees through trial and

all appeals in. this matter, as allowed by law.

H.   Cause of Action for Aiding and Abetting Against State Farm and Linson

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs and

allegations herein.

       1. Assisting or Encouraging

       The Defendants committed a tort or torts against the Plaintiffs, as described and pled for

herein, including, but not limited to, to violate the DTPA, to violate Section 542 and 541 of the

Texas Insurance Code, to commit unfair and deceptive insurance practices, to commit fraud and



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fraudulent inducement, to commit breaches of contract, and to commit breaches of the duty of

good faith and fair dealing.     The other Defendant(s) had knowledge that the primary actor's

conduct constituted a tort or toils. The other Defendant(s) had the intent to assist the primary

actor in committing the tort(s). The other Defendants) gave the primary actor assistance or

encouragement. The other Defendant(s)' assistance or encouragement was a substantial factor in

causing the tort(s),     Therefore, all of the Defendant(s) are considered tortfeasors and are

responsible for the consequences o f the tort(s), including joint and several liability for the

damages suffered by the Plaintiffs as described herein.

        The assisting or encouraging "aiding and abetting" acts committed by the Defendants set

forth herein were committed with gross negligence, fraud and/or malice, as those terms are used

in Chapter 41 of the Texas Civil Practices and Remedies Code, such as to justify the imposition

of punitive damages against the Defendants.

        Plaintiffs seek, as a result of the Defendants' assisting or encouraging "aiding and

abetting" acts as set forth herein, Plaintiffs' actual damages, consequential damages, incidental

damages, compensatory damages, mental anguish damages, punitive damages, attorney's fees

through trial and all appeals i n this matter, expert witness fees, costs o f court, costs for copies o f

depositions, pre-judgment interest, and post-judgment interest, as allowed by law.

        2. Assisting and Participating

        The Defendants committed a tort or torts against the Plaintiffs, as described and pled for

herein, including, but not limited to, to violate the DTPA, to violate Section 542 and 541 o f the

Texas Insurance Code, to commit unfair and deceptive insurance practices, to commit fraud and

fraudulent inducement, to commit breaches o f contract, and to commit breaches o f the duty of

good faith and fair dealing. The primary actor's activity accomplished a tortious result. The



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other Defendants) provided substantial assistance to the primary actor in accomplishing the

tortious result. Tire other Defendants)' own conduct, separate from the primary actor's, was a

breach o f duty to the Plaintiffs. The other Defendants)' participation was a substantial factor in

causing the tort or torts. Therefore, all o f the Defendants are considered tortfeasors and are

responsible for the consequences of the tort(s), including joint and several liability for the

damages suffered by the Plaintiffs as described herein.

          The assisting and participating ''aiding and abetting" acts committed by the Defendants

set forth herein were committed with gross negligence, fraud and/or malice, as those terms are

used in Chapter 41 o f the Texas Civil Practices and Remedies Code, such as to justify the

imposition o f punitive damages against the Defendants.

          Plaintiffs seek, as a result o f the Defendants' assisting and participating "aiding and

abetting" acts as set forth herein, Plaintiffs' actual damages, consequential damages, incidental

damages, compensatory damages, mental anguish damages, punitive damages, attorney's fees

through trial and all appeals i n this matter, expert witness fees, costs o f court, costs for copies of

depositions, pre-judgment interest, and post-judgment interest, as allowed by law,

I. Cause of Action for Negligence and Gross Negligence Against Linson

          Plaintiffs reallege and incorporate by reference all previous paragraphs and allegations

herein.

          The Defendant Linson was negligent i n giving advice to Plaintiffs as to how they could

repair their Property so as to prevent fiuther damage to the Plaintiffs' Property. This advice as to

how to repair Plaintiffs' Property was negligent because Plaintiffs could not properly repair their

Property and prevent future damage by following Linson's advice.              Plaintiffs' Property has

sustained further damages as a result. Linson owed a duty to use reasonable care when she



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undertook to advise the Plaintiffs as to how they could repair their Property so as to prevent

further damage to the Plaintiffs' Property. Defendant Linson breached this legal duty. The

breach proximately caused injury to the Plaintiffs.

       The acts and failures to act set forth herein were committed with gross negligence, as this

term is used i n Chapter 41 o f the Texas Civil Practices and Remedies Code, such as to justify the

imposition o f exemplary damages against the Defendant Linson,

J. Cause o f Action f o r Negligent Misrepresentation Against Linson

       Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

and allegations herein.

       Additionally and/or in the alternative, the above and foregoing acts and omissions of

Defendant Linson constitute negligent misrepresentations that have caused damages to Plaintiffs.

Defendant Linson made representations to Plaintiffs i n the course o f Plaintiffs' business or i n a

transaction i n which Defendant had an interest. The Defendant supplied false information for the

guidance o f others, including Plaintiffs. The Defendant did not exercise reasonable care or

competence i n obtaining or communicating the infomiation to Plaintiffs. Plaintiffs justifiably

relied upon such representations, and the Defendant's negligent misrepresentations proximately

caused further damages to Plaintiffs' Property.

       The misrepresentations, acts and/or failures to act set forth herein were committed with

gross negligence, fraud and/or malice, as those terms are used i n Chapter 41 of the Texas Civil

Practices and Remedies Code, such as to justify the imposition o f punitive damages against

Defendant Linson.

       Plaintiffs seek herein, as a result o f Defendant's negligent misrepresentations, Plaintiffs'

actual damages, consequential damages, incidental damages, compensatory damages, mental



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Case 4:15-cv-00181-A Document 1-5 Filed 03/11/15                         Page 18 of 37 PageID 29

                                          096-276812-15


anguish damages, punitive damages, costs o f court, pre-judgment interest, and post-judgment

interest

                               V I I . W A I V E R AND E S T O P P E L

        Defendants have waived and are estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained i n any reservation o f rights letter

to Plaintiffs.

                                        V I I I . DAMAGES

        The above described acts, omissions, failures and conduct o f Defendants have caused

Plaintiffs' damages, which include, without limitation, the cost to properly repair Plaintiffs'

property and any investigative and engineering fees incurred i n the claim. Plaintiffs are also

                                                                5
entitled to recover consequential damages from Defendants breach of contract. Plaintiffs are

also entitled to recover the amount of Plaintiffs' claim plus an 18% per annum penalty on that

claim against Defendants as damages under Section 542 o f the Texas Insurance Code, plus

prejudgment interest and attorneys fees. In an effort to comply with Rule 47(c) of the Texas

Rules of Civil Procedure, Plaintiffs seek monetary relief over $100,000.00 but not more than

$200,000,00. Therefore, all the damages described i n this petition are within the jurisdictional

limits of the Court.

                                IX. ADDITIONAL DAMAGES

        Defendants have also "knowingly" and "intentionally" cornrmtted deceptive trade

practices and unfair insurance practices as those terms are defined in the applicable statutes.

Because o f Defendants' knowing and intentional misconduct Plaintiffs are entitled to additional

damages as authorized by Section 17.50(b)(1) of the DTPA, Plaintiffs are further entitled to the

additional damages that are authorized by Section 541 of the Texas Insurance Code-



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                                  X, E X E M P L A R Y D A M A G E S

        Defendants' above and foregoing acts and omissions, as set forth above, were done

intentionally, with a conscious indifference to the rights and welfare of Plaintiffs, and with

"malice" as that term is defined in Chapter 41 o f the Texas Civil Practice and Remedies Code.

These violations by Defendants are the type of conduct which the State of Texas protects its

citizen against by the imposition of exemplary damages. Therefore, Plaintiffs seek the recovery

o f exemplary damages i n an amount to be determined by the finder o f fact that is sufficient to

punish Defendants for their wrongful conduct and to set an example to deter Defendants and

others similarly situated f r o m committing similar acts in the future.

                                     XI. ATTORNEYS* F E E S

       As a result of Defendants' conduct that is described i n this petition, Plaintiffs have been

forced to retain the undersigned attorneys to prosecute tins action and have agreed to pay

reasonable attorneys' fees, Plaintiffs are entitled to recover these attorneys' fees under Chapter

38 o f the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance

Code, and Section 17.50 o f the DTPA.

                                       X I L JURY DEMAND

       Plaintiffs assert Plaintiffs' right to a trial by jury, under Texas Constitution Article 1,

Section 15, and makes this demand for a jury trial at least 30 days before the date this case is set

for trial, in accordance with Texas Rule o f Civil Procedure 216. Plaintiffs tender the fee o f

$30.00, as required by Texas Government Code Section 51,604.




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                             X I I I . REQUEST F O R DISCLOSURE

          Pursuant to Texas Rule of Civil Procedure 194.2, Plaintiffs request that Defendants

disclose, within 50 days of the service o f this request, the information or material described in

Rule 194.2 ( a ) - ( l ) .

                                          XIV. PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited to

appear and answer herein, and that upon trial hereof, said Plaintiffs have and recover such sums

as would reasonably and justly compensate them in accordance with the rules of law and

procedure, both as to actual damages, consequential damages, treble damages under the Texas

Insurance Code and Texas Deceptive Trade Practices Act, and all punitive, additional, and

exemplary damages as may be found. In addition, Plaintiffs request the award o f attorney's fees

for the trial and any appeal of this case, for all costs of court, for prejudgment and post-judgment

interest as allowed by law, and for any other and further relief, at law or i n equity, to which they

may show themselves to be justly entitled.




                                              Respectfully submitted,

                                              SPEIGHTS & W O R R I C H
                                              1350 North Loop 1604 East, Suite 104
                                              San Antonio, Texas 78232
                                              (210) 495-6789 (Telephone)




                                              ATTORNEY FOR PLAINTIFFS



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                                               096-276812-15
 Providing Insurance and Financial
                              tsa? Services
                                    Services                                          v   ~i   ' r«
                                                                                                r


^ffie-QMee7-8teQmin$te>rk-fL-




October 13, 2014

Clydelynn Mitch ell                                            State Farm Claims
3420 Pueblo Rdg                                                P.O. Box 2323
Grand Prairie TX 75052-7869                                    Bloomington IL61702-2323




RE:       Claim Number:              43-534L-379
          Policy Number:             58B8G8849
          Date of Loss:              October 02, 2014

Dear Clydelynn Mitcheil:

Thank you for the opportunity to discuss your loss at the above address on 10/13/2014.

State Farm® agrees there is covered damage caused by wind to the areas which we have
itemized in our estimate. Please note, the claim adjustment for these covered damages reflects
the applicable policy deductible.

Our adjustment reflects these covered damages as indicated below.

Building:

         State Farm Estimate                                      $3734.33
         Less Depreciation                                        $1778.38

         Less Deductible:                                         $2215

         Total Payable                                           $33.22

Enclosed Is our payment of $33.22 in payment of your above referenced claim. I have also
enclosed a copy of the building estimate for your reference.

Because we value you as a policyholder and appreciate your business, we want to ensure you
understand the coverage decision.

If you have questions or need assistance, please call (866) 787-8676 Ext. 2749 and leave a
voice mail message. We will return your call as soon as possible. Our centralized claim
operation is also available to provide assistance. They can be reached at 877-783-1200.
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43-534L-379                   096-276812-15
Page 2
October 13, 2014


Sincerely,



Darryl W Simmons
independent Adjuster
(868) 787-8676 Ext, 2749
Fax: (877) 732-8558

State Farm Lloyds
    Case 4:15-cv-00181-A Document 1-5 Filed 03/11/15                            Page 23 of 37 PageID 34
                                                                                                                    Page I o t 2


                                          096-276812-15


                                                    ww-of-L&ss-

     Named Insured: Clyde Lynn Mitchell
     Claim Number:   43-534L-379

    Coverage A - Dwelling                              Limit of Liability: $.
    Coverage A - Dwelling Extension                    Limit of Liability; S.
    Description                                                                               Amount
    Stale Farm Estimate                                                                   $       3,734.33

                                                                         Tola! Coverage A: $.                  3,734.33



    Coverage 8 - Persona! Property                     Limit of Liability: $,
    Description                                                                               Amount
    Xactcontents                                                                                    324.75

                                                                        Total Coverage B: $.                        324.75



    Coverage C - Loss of Use                          Limit of Liability; $„

                                                                        Total Coverage C; $.                          0.00



    Other Coverages (if applicable)

                                                 Total Other Coverages (If applicable): $.                           0.00



    Payments Made



    Comments / Supplements:
                                                          Coverage A+B+C Total* S                      4,059,08
                                                   Other Coverages (if applicable): $ _                      O.OO
                                                             Total AH Coverages; $                     4,053.08
                                                   Less Recoverable Dep. Gov. A: $                           0.00
                                                               Paid When Incurred: $                         0.00
                                               Less Non-Recoverafafe Dap. Cov. A: $                    1,r?6.36
                                                   Less Recoverable Dep. Cov. B: $                       32.48
                                               Less Non-Recoverable Dep. Cov. S: $                           000
                                                                           Subtotal: $_               2.248.22
                                                                   Less Deductible: $                  2.215.00
                                                      Less Amounts Over Limit(s): $                          0.00
                                                               Less Ordered Items; $                         0.00
                                                   Less Owner Retained Salvage: $                            0.00
                                                                    Total Payable; $ _                   33.22
                                                      Less Total Payments Made: $

                                           >
http://sfeuc.opr.statefarm.org/EUCNET00499/ restEntry.aspx?type==AHStates                                      10/13/2014
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                                                                                                                               Page 2 of 2

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                                                                                                                            Q.O0
                                                                                      Net Payment: $                      33.22

     DarrylWSim worts                                            10/13/2014
    Signature                                                   0s(<»




                • Your policy may provide foraddsiiomi paytrwnts on a replacement cast basis for (h& Recoverable        Dspreciatim
                                   listed above for Co v.A and Cov. 8. for your Buifdmg and Personal Pmpatty,
                              Please refer to your policy for specific time limits and BdrMonai settt&mmt provisions,
                                        Please contact your claim repmsBfttatim if you have any questions.




http://sfeuc.opi\sLatefann.org/EUCNET00499n'cstEntry.aspx?typc-AiiStatcs                                                      10/13/2014
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                                                           096-276812-15




                                                            State Farm
                                                          P.O. Box 2323
                                                    Bloomington, I L 61702-2323
                                                        Fax: 1-877-732-6556
             Insured:    MITCHELL, CLYDELYNN                                              Estimate:     43-534L-379
            Property:    3420 Pueblo Rdg                                            Claim Number:       43534L379
                         Grand Prairie, TX 75052-7869                               Policy Number:      58-B8-G884-9
             Home:       817-557-0389                                                    Price List:    TXDPBX OCT 14
           Business:     817-568-5710                                                                   Rcstoratioti/Servtce/Remodel
            Cellular:    936-332-3051
      Type of Loss:      Wind Damage
        Deductible:      $0,00
      Date of Loss:      10/2/2014
     Date Inspected:     10713/2014
                         Summary f o r Coverage B - Personal Property - 36 Windstorm and Hail
        Line Item Total                                                                                                       300.00
        Material Sales Tax                                                                                                     24.75
        Replacement Cost Value                                                                                                324.75
        Less Depreciation (Including Taxes-)                                                                                  (32.48)
        Less Deductible                                                                                                        (0.00)
        Net Actual Cash Value Payment                                                                                        $292.27


                                    Maximum Additional Amounts Available I f Incurred;

        Total Line Item Depreciation (Including Taxes)                                        32.48
        Replacement Cost Benefits                                                                            32.48

        Total Maximum Additional Amount Available I f Incurred                                                                 32.48
        Total Amount of Claim If Incurred                                                                                   $324.75




        Linson, Laurin


     A L L A M O U N T S P A Y A B L E A R E SUBJECT T O T H E TERMS, C O N D I T I O N S A N D
     L I M I T S OF YOUR POLICY.

  Important Information
  Additional Payments May Be Available
  Replacement Cost - Personal Property

  Your policy may provide for additional payments on areplacementcost basis for some of your personal property items.

  The personal property items must be repaired or replaced within a specified period of time in order to present a claim for additional
  payments on a replacement cost basis. Please refer to your policy for specific time limits and additional settlement provisions.
  Following repair or replacement, please submit your doeumcntatiors to us referring to the claim number and item number.

Date:    10/13/2014 11:32 AM                                                                                                           Page; 1
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                                                            096-276812-15
                                                                 State Farm
m&mmjL^cummjmH                                                                                                                    43-534L-379
   I f an insured replaces a lost or damaged item, replacement cost benefits may be paid, I f the item has not been replaced, the claim will
   be paid based on actual cash value. Actual cash value (ACV) is calculated by determining the replacement cost (RC) oftfaeitem and
   then subtracting depreciation (ACV - RC - Depreciation). The amount of the depreciation is based on. age, condition., quality, and use
   o f the property at the time of the loss.

   The item's effective age is used in calculating depreciation, If the item's condition is classified as normal use. then the effective age
   is the same as the actual age. I f the heavy \ise or light use is selected for the item *s condition, the effective age of the item is
   determined by adjusting the actual age by a factor of 1.4 for heavy use and .6 for light use. As a result, an item that is 10 years old
   with heavy use has an effective age of 14 years (10 years x 1.4). An item that is 10 years old with light use has art effective age of 6
   years (10 years x ,6),

  Regardless of the age, i f an item is useable for its intended purpose, depreciation does not exceed 80%. I f the item is replaced within
  thtr time allowed by the policy, the deprcci ation previously deducted may be paid vp to the amount spent to replace the item or the
  agreed upon replacement cost for that item, whichever is less. All the terms and conditions of the insurance policy apply.

  I f you have any questions regarding the amount o f depreciation, or any other information in this report, please contact your claim
  handler.




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 MITCHELL, CLYDELYNN                                                                       43-S34L-379

   43-534L-379

   DESCRIPTION                 QUANTITY UNIT P R I C E   TAX          RCV     DEPREC.         ACV

   1. Books                        1,00 EA     300,00    24.75       32475      (32.48)      292.27

   Total: 43-534L-379                                    24.75       324.75      32.48       292.27


   Line Item Totals: 43-534L-379                         24.75       324,75      32.48 '     292.27



   Grand Total Areas:




Date:   10/13/201411:32 A M                                                                   Page; 3
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 MITCHELL, CLYDELYNN                                                                                                    43-534L-379
                                                       096-276812-15




                                                        State Farm
                                                       P.O. Box 2323
                                                 Bloomington, I L 61702-2323
                                                    Fax: J-877-732-6556



                                        Structural Damage Claim Policy

    When you have a covered structural damage claim to your real property, you should know:

        * We want you to receive quality repair work to restore the damages to your property.

        * We w i l l provide you with a detailed estimate of the scope of the damage and costs of repairs. Should the
          contractor you select have questions concerning our estimate, they should contact your claim representative
          directly.

        « Depending upon the complexity of your repair, our estimate may or may not include an allowance for general
          contractor's overhead and profit. Tf you have questions regarding general contractor's overhead and profit and
          whether general contractor services are appropriate for your loss, please contact your claim representative
          before proceeding with repairs.

        * There may be building codes, ordinances, laws, or regulations that affect the repairs of your property. These
          items may or may not be covered by your policy. Please contact your claim representative i f you have any
          questions regarding coverage which may be available under your policy.

        * Tf you select a contractor whose estimate is the same as or lower than our estimate, based on the same scope o f
          damages, we w i l l pay based upon their estimate. I f your contractor's estimate is higher than oars, you should
          contact your claim representative prior to beginning repairs.

        * State Farm® cannot authorize any contractor to proceed with work on your property. Repairs should proceed
          only with your authorization.

        * State Farm does not guarantee the quality of the workmanship of any contractor or guarantee that the work w i l l
          be accomplished within any specific time frame.

        * I t is understood that the contractor is hired by you, our insured, and that they work for you - not State Farm,

    I f you have any questions or need additional information regarding your claim, please contact your claim
    representative immediately.




Date:   10/13/2014 U:17 AM                                                                       132214.1 06-18-2009         Page: I
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                                                                                                                                                43-534L-379


                                         Buifdsng E s f l ^ a ^ S t i m m a r y Guide
              This summary guide is based on a sample estimate and is provided for reference only*.
                                     Please refer to the estimate for specifics of your claim.


                                    State Farm Insurance                                                   1. Line Item Total - Tota! value of ail line
                                                                                                              items in the estimate pius possible
                                                                 Estimate: 00-0000-000                        adjustmentsforlabor minirnums, Labor
           Insured: Smith, Joe & Jane
                                                                                                               Minimum is to cover a certain minimum
          Property: 1 Main Street                           Cfaim number:      00-0000-000                    number of hours for drive-lime, set up
                                                                                                              time and applicable administrative
                    Anywhere, ILQQOOO-OQOO                  Policy Number. OO-G0-QQ00-Q
                                                                                                              costs and repairs,
   Type of Loss: Other                                           Price List:   ILBL8FJJAR 13
                                                                               Restoration/Service/        2. General Contractor's Overhead and
      Deductible: $1,000.00
                                                                               Remodel                        Profit - General contractor's charge for
                                                                               F = Factored In,               coordinating your repairs.
                                                                               D w Do Nat Apply
                                                                                                           3. Replacement Cost Value (RCV) -
                                    Summary for Dwelling                                                      Estimated cost to repair or replace
                                                                                                              damaged property.
 Line item Totat FT]                                                                         S.953.10
                                                                                                           4. Depreciation - The decrease in the
 Material Sales Tax                          @          10.000% x 1,520.00                                    value of property over a period of time
 Subtotal                                                                                    6,105.10         due to wear, tear, condition, and
                                                                                                              obsolescence. A portion or all of this
 General CoWractor Overhead [ I ]            @             10.0% x 6,105.10                   610.51          amount may be eligible for replacement
 General Contractor Profit                   @             10.0% X e,105-10                                   coat benefits.

 Replacement Cost Value (Including General Contractar Overhead and Profit f 3 |             7,326.12       5. Deductible - The insurer will pay for
 Less.DeprecteCan (Including Taxes) [4]                                                      (832.50)         losses, up to the policy limits, in excess
                                                                                                              of your applicable deductible.
 Less General Contractor Overhead & Profit on Recoverable &
 Non •• recoverable Depredation                                                              (166.50)      6. Net Actual Cash Value Payment
                                                                                                              (ACV) — The repair or replacement cost
 Less DaductWe {W\                                                                                            of the damaged part of the property
 Net Actual Cash Value Payment f j ]                                                                          leas dapredation and daductiblB.

                                                                                                           7. Non Recoverable Depreciation -
             Maximum Additional Amounts Available If incurred:                                                Depreciation applied to items that are
                                                                                                              not eligible for replacement cost
Total Line Item Depredation (Including Taxes) fjTJ                    832,50                                  benefits.
Less Non - recoverable Depreciation (Including Taxes) (Tj
                                                                                                           e. Totat Maximum Additional Amount If
Subtotal                                                                           312.60                     Irrcirrred - Total amount of
 General Contractor O&P on Depreciation                               166.50                                  recoverable depreciation after actual
                                                                                                              repair or replacement of the property.
 Less General Contractor O&P on Non - recoverable Depreciation
 Subtotal                                                                                                  S. Total Amount of Claim if Incurred -
                                                                                                              Total amount of the claim, including net
 Tota! Maximum Additional Amounts Available If Incurred: f s ]                                                actual cash value payment and total
                                                                                                              maximum additional amount available if
 Totat Amount of Claim If Incurred f¥)
                                                                                                              Incurred.




 Claim Representative

 ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND LIMITS OF
 YOUR POLICY.




1002BBS                                                                                                                                  M3926.1 01-23.2013
Date:       10/13/2014 11:17 AM                                                                                                                   Page: 2
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                                                          096'
 MITCHELL, CLYDELYNN                                                                                                      43-534L-.T79

               Insured:    MITCHELL, CLYDELYNN                                      Estimate:    43-534L-379
              Property:    3420 Pueblo Rdg                                    Claim Number:      43534L379
                           Grand Prairie, TX 75052-7869                       Policy Number;     58-B8-G884-9
               Home:       (80)557-0389                                            Price List:   TXDF28_OCT14
             Business:     (817)568-5710                                                         Res! oratio u/S'crvk: c/Renio del
              Cellular:    (936)332-3051
         Type of Loss";    Wind Damage
          Deductible:      $2,215,00
          Date of LOSE:    10/2/2014
        Date Inspected:    10/13/2014
                                 Summary for Coverage A - Dwelling - 35 Windstorm and H a i l
         Line Item Total                                                                                              3,627,92
         Material Sales Tax                                                                                             106,41
         Replacement Cost Value                                                                                     * 3,734.33
         Less Depreciation (Including Taxes)                                                                        (L778.38)
         Less Deductible                                                                                            (2.2I5.O0)
         Aetna! Cash Value Total                                                                                       (259.05)
         Net Actual Cash Value Payment                                                                                   S0.00




         Linson, Laurin
         (855) 283-0441 x 9726571858
         Simmons, Darryl


        A L L A M O U N T S P A Y A B L E A R E S U B J E C T T O T H E T E R M S , C O N D I T I O N S AND
        LIMITS OF YOUR POLICY.




Date:     10/13/2014 11:17 A M                                                                                                 Page; 3
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 MITCHELL, CLYDELYNN                                                                                                            43-534L-379

                                                                   Dweffing
                                                             Dwelling Exterior


        /
                                   Dwelling Roof

                                                    3,3 66.4ft Surface Area                              33.66 Number of Squares
                                                      258.98 Tota! Perimeter Length                      36.45 Total Ridge Length
                                                      126.06 Totat Hip Length




  DESCRIPTION                     QUANTITY UNIT PRICE                                 TAX           RCV        DEPREC                ACV

  1. R&R 3 tab - 25 yr. -             18.00EA            12.79                        2.15        232,37                            232.37
  composition shingle roofing
  (per SHINOLE)

  The above line tietn to address 13 shingles on the front slope, 4 shingles on the right slope, and 1 shingle on tiie rear slope

  2. Roofer-per hour                   2.00 HR           75.31                        0.00        1 50.62                           150.62

  Fur height and pitch


  Totals: Dwelling Roof                                                               2.1S        38199              0.00           382.93




  Front Elevation
                    0.00 SFWalfa                                 0,00 SF Ceiling                         0.00 SF Waifs & Ceiling
                    0.00 SF Floor                                O.OO SF Short Wall                      0.00 LF Floor Perimeter
                    0.00 SF Long Waif                                                                    0.00 LP Ceil, Perimeter

  DESCRIPTION                     QUANTITY UNIT PRICE                                 TAX          RCV        DEPREC.               ACV

  No storm damage


  Tot als; Front Elevation                                                            0.01)                         0.00             0.00




  Right Elevation
                    0.00 SF Walls                             0.00 SF Ceiling                           0.00 SFWalU 4 Ceiling
                    O.OO SFFioor                              0.00 SF Short Wall                        0.00 LF Floor Perimeter
                    O00 SF Long Wall                                                                    0.00 LF Ceil. Perimeter

  DESCRIPTION                     QUANTITY UNIT P R I C E                             TAX          RCV        DEPREC.               ACV

  No storm damage


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                                                      State F a r m
                                                   096-276812-15
 MITCHELL, CLYDELYNN                                                                                                  43-534L-379


                                               CONTINUED - Right Elevation




   DESCRIPTION                     QUANTITY UNIT PRICE                     TAX            RCV         DEPREC.                ACV
   Totals: Right Elevation                                                  (hOt)          0.00             0.00              0.00




   Rear Elevation
                      0.00 SF Walls                   0.00 SF Ceiling                            0.00 SF Walls & Ceiling
                      0.00 SF Floor                   0.00 SF Short Wall                         0.00 LF Floor Perimeter
                      0.00 SF Long Wail                                                          0.00 LF Ceit Perimeter

  DESCRIPTION                      QUANTITY UNIT PRICE                     TAX           RCV          DEPREC.               ACV

  No storm damage


  Totals: Rear Elevation                                                   0.00           0,00              0.00             0.00




  L e f t Elevation
                      0.00 SF Walls                   0.00 SF Ceiling                        0.00 SF Walls & Ceiling
                      0.00 SF Floor                   0.00 SF Short Wall                     0.00 LF Floor Perimeter
                      0,00 SF Long Wall                                                      0.00 LF Ceil. Perimeter

  DESCRIPTION                      QUANTITY UNIT PRICE                     TAX           RCV          DEPREC.               ACV
   T
  A o storm damage


  Totals: Left Elevation                                                   0.0(1          0,00             0,00              0.00
  Area Totals: Dwelling Exterior
               1,547.5? Exterior Wall Area
               3,366.46 Surface Area                33.66 NKtnber of Squares                517.9? Total Perimeter Length
                  36.45 Total Ridge Length         126.06 Tote! Hip Length

  Total; Dwelling Exterior                                                 2.1S         382,99             0.00            382.99
  Area Totals: Dwelling
               1,547.57 Exterior Wall Area
               3,366.46 Surface Area                33.66 Number of Squares                 517.97 Totat Perimeter Length
                  36.45 Total Ridge Length         126.06 Total Hip Length

  Total: Dwelling                                                          2.15        382.99              0J0             382J9




Date:   10/13/2014 11:17 A M                                                                                                Page: 5
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                                                State F a r m
 MITCHELL, CLYDELYNN                         096-276812-15                                               43--53IL-379




   Grand Total Areas:

              ] ,547.57 Exterior Wall Area

             3,366.46 Surface Area            33.66 Number of Squares         517.97 Total Perimeter l e n g t h
                36.45 Total Ridge Length     126.06 Total Hip length




Date:   10/13/2014 1 !;17 A M                                                                                 Page: 7
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 MITCHELL, CLYDELYNN                                                                                                  43-534L-379



                                                  CONTINUED - Bight Elevation




   DESCRIPTION                     QUANTITY UNIT PRICE                        TAX          RCV         DEPREC.              ACV
   Totals: Right Elevation                                                     0.00         0.0(1            0.00            0.00




   Rear Elevation
                    0.00 SF Walls                        0.00 SF Ceiling                          0.00 SF Walls & Ceiling
                    0.00 SF Floor                        0.00 SF Short Wall                       0L0O LF Floor Perimeter
                    0.00 SF Long Wall                                                             0,00 LF Ceil Perimeter

  DESCRIPTION                      QUANTITY UNIT PRICE                        TAX          RCV         DEPREC.              ACV

  No storm damage


  Totals: Rear Elevation                                                      0.0ft        o.oo             0.00            0.00




  Left Elevation
                    0.00 SF Walls                        0.00 SF Ceiling                       0.00 SFWfllls& Ceiling
                    0.00 SF Floor                        0.00 SF Short Wall                    0.00 LF Floor Perimeter
                    0.00 SF Long Wail                                                          0.00 LFCe.il. Perimeter

  DESCRIPTION                      QUANTITY UNIT P R I C E                    TAX         RCV         DEPREC.               ACV

  No storm damage


  Totals: Left Elevation                                                      0.00         0.00             0.00            G.00
  Area Totals: Dwelling Exterior
             1,547,57 Exterior Wall Area
             3,366.46 Surface Area                     33.66 N\tmher of Squares              517.97 Total Perimeter Length
                36.45 Total Ridge Length              126.06 Total Hip Length

  Total: Dwelling Exterior                                                    2.15       382,99             0.00        382.99
  Area Totals: Dwelling
             1,547.57 Exterior Wall Area
             3,366.46 Surface Area                     33,66 Number of Squares               517.97 Total Perimeter Length
                36.45 Tota! Ridge Length              126,06 Total Hip Length

  Total: Dwelling                                                             2.15       382.99             0.00        382.99




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 MITCHELL, CLYDELYNN                                                                                  43-534L-379




   Grand Total Areas;

              1,547.57 Exterior Wall Area

              3,366.46 Surface Area          33.66 Number of Squares          517.97 Total Perimeter J .ength
                 36.45 Total Ridge Length   126.06 Total Hip Ungth




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•wciuiig   - juwemrig exterior
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 MITCHELL, CLYDELYNN                                                                                                            43-534L-379

  Fencing

                    0.00 SF Wafe                                 0,00 SF Ceiling                            0.00 SF Walls & Ceiling
                    0,00 SF Floor                                0.00 SF Short Walt                         0.00 LF Floor Perimeter
                    O.00 SF Long Wall                                                                       0.00 LF Ceil. Perimeter

  DESCRIPTION                     QUANTITY UNIT P R I C E                             TAX           RCV          DEPREC.               ACV

  3. K&R Wood fence 5 - 6'           54,50 LF            28.37                        62.05       1,608.22      <L286,58>             321,64
  high - cedar

  The above line item la address tiie shared left run of fencing

  4. R&R Wood f e n c e d 6'         25.00 LF           28.37                        28.46         737.71         <491.80t>           245.91
  high - cedar

  For rear run offence

  Hie following line items to address repairs to the right run offencing

  5- R&R Post-wood- 4" x              6.00 EA           60.26                        12.51         374.07                          374.07
  4" fence grade cedar or
  equal

  6. Wood fence 5* - 6' high -        7.00 EA           63.68                          1.24        447.00                          447.00
  Detach & reset - per 8'
  section

  Totals: Fencing                                                                104.26          3,167.00      <l,778.38>       1,388.62




  Debris Removal
                    0.00 SF Walls                               0.00 SF Ceiling                         0.00 SF Walls & Ceiling
                    0.00 SF Floor                               0.00 SF Short Wall                      0,00 LF Floor Perimeter
                    0.00 SF Long Wall                                                                   0.00 L F Ceil. Perimeter

 DESCRIPTION                     QUANTITY UNIT PRICE                                 TAX            RCV         DEPREC.               ACV

 7. Single axle dump truck-           1.00 EA          184.34                         o.oo        184.34                           184.34
 per load - including damp
 fees

 Totals: Debris Removal                                                               0.00        18434               8.00         184.34


 line Item Totals; 43-S34L-379                                                   106.41          3,734.33      <1,77&38>        1,955.95




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